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        Michael Koch, Trustee State Bar No. 131892
    2   Rebecca E. Pennington State Bar No. 174488
        OFFICE OF THE CHAPTER 13 TRUSTEE
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    8
                                    UNITED STATES BANKRUPTCY COURT
    9                               SOUTHERN DISTRICT OF CALIFORNIA
   10   In re:                                           )    Case No. 23-03832-CL13
                                                         )    Chapter 13 Case
   11                                                    )
                                                         )    DATE: April 17, 2024
   12                                                    )
                       PAUL BLAZEVICH                         TIME: 10:00 AM
                                                         )
   13                                                    )    JUDGE: HON. CHRISTOPHER B.
                                                         )    LATHAM
   14                                                    )    DEPT: 5
                                                         )
   15                                                    )
                                            Debtor.           TRUSTEE’S STATEMENT OF CASE
                                                         )
   16                                                         STATUS
                                                         )
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                 This Statement of Case Status is filed with the Court with respect to Trustee’s Objection
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        to Confirmation and Motion to Dismiss. Pending resolution of the following issues, objections
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        remain:
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                 1. There is $455,785 non-exempt in real property, jewelry, automobile and value in
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                     restitution. Plan must provide to pay unsecured creditors in full.
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                 2. Amended Schedules I and J disclose $2,454 net monthly income while plan payment
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                     is $1,786. Amended Schedule I discloses rental income, pension income and self-
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                     employment income.
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                 3. Debtor has failed to provide proof of income and has not provided copies of tax
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                     returns to Trustee so that the case must be dismissed pursuant to §§ 521(a)(1)(B)(iv)
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                     and 521(e)(2)(B).
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    1       4. Part 2.4 of the plan provides that debtor both retains and turns over tax refunds. The
    2           plan provides for payment of the Debtor’s mortgage arrears through the plan by
    3           Truste in Part 3.1 and by way of California Relief Program in Part 9.
    4       5. The Debtor’s Plan acknowledges in Part 9 that the case will be dismissed within 90
    5           days after California Relief Program pays the mortgage arrears—an admission that
    6           the case was filed to hinder and delay the collection of a debt.
    7       6. Debtor has made no plan payments so that the case should be dismissed pursuant to
    8           §1307(c)(1) for a delay that is prejudicial.
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   12   Date: March 29, 2024                                      /s/ Rebecca E. Pennington
                                                               Attorney for Chapter 13 Trustee
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